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                               Wednesday, 19 January, 2022 10:43:34 AM
                                           Clerk, U.S. District Court, ILCD




                          s/Trevor Waite




                        s/Eric I. Long
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                                           s/Trevor Waite




s/Eric I. Long
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